             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                           AT CHATTANOOGA




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       No. 1:07-CV-79
                                             )
VIRGIL McGEE                                 )


                          MEMORANDUM AND ORDER


             This criminal case is before the court on the defendant’s motion for a

continuance of the trial date [doc. 71] and the government’s motion to extend the

plea agreement deadline [doc. 70]. Chambers contacted counsel for both parties

about resetting these two matters, but neither lawyer returned the court’s calls.

Therefore, the court will grant both motions and set the matters at the court’s

convenience.

             As to the defendant’s motion for a continuance of the trial, counsel

avers that additional time is needed to evaluate the evidence and charges. The

court finds the motion well taken, and it will be granted. The court finds that the

ends of justice served by granting the motion outweigh the best interest of the

public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The court

finds that the failure to grant the motion would deny the defendant the

reasonable time necessary for effective preparation. 18 U.S.C.




Case 1:07-cr-00079-TRM-CHS     Document 76       Filed 09/10/07   Page 1 of 2   PageID
                                      #: 1
§ 3161(h)(8)(B)(iv). Therefore, all the time from the filing of the defendant’s

motion to the new trial date is excluded under the Speedy Trial Act. 18 U.S.C.

§ 3161(h)(8)(A).

             It is hereby ORDERED that the defendant’s motion for a

continuance of the trial in this criminal case is GRANTED, and the trial of this

criminal case is CONTINUED to November 7, 2007, at 9:00 a.m. in Chattanooga.

             It is further ORDERED that the government’s motion for an

extension of the plea agreement deadline is GRANTED, and the deadline is

extended to October 29, 2007.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




                                         2


Case 1:07-cr-00079-TRM-CHS      Document 76     Filed 09/10/07   Page 2 of 2      PageID
                                       #: 2
